T

Case 1:11-cv-01441-UNA Document3 Filed 08/08/11 Page 1 of 2

UNITED STATES DISTRICT COURT F I L E D
FOR THE DISTRICT OF COLUMBIA AUG 08 201
Danny Joe Hirschfield, ) "Ban kruptey Coune
Plaintiff,
V. Civil Action No.
U.S. Dep’t of Homeland Security ef al., LJ 1441
Defendants.
TRANSFER ORDER

This matter is before the Court on review of plaintiff's pro se complaint and application
to proceed in forma pauperis. Plaintiff is a resident of Upper Marlboro, Maryland, suing the
Department of Homeland Security, the Federal Protective Service (“FPS”), and presumably an
FPS officer for several encounters with law enforcement officers in Los Angeles beginning with
an incident on July 6, 2010. Plaintiff alleges that while he was taking photographs, “several
officers” at the federal courthouse in Los Angeles discriminated against him because of his
disability and one security guard attacked him and handcuffed him. Plaintiff was issued “a
citation[,] released with a fine of $275[,]” and scheduled to appear in court on September 1,
2010. Compl. at 2.

When plaintiff appeared for the scheduled court date, he allegedly was denied entrance to
the courthouse because of insufficient identification. /d. at 2-3. Consequently, a bench warrant
was issued presumably for his failure to appear. /d. at 3. Eventually, in April 2011, plaintiff was
arrested on the outstanding warrant. /d. at 5. After five days in jail, plaintiff appeared in court

and was released on bond. When he returned to court, his case was dismissed. /d. at 6.
Case 1:11-cv-01441-UNA Document3 Filed 08/08/11 Page 2 of 2

Plaintiff seeks $4.5 million in monetary damages for “wrongful arrest, harassment, use of
excessive force, bodily injury & false imprisonment,” id. at 8, but he also claims violations of the
Fourth Amendment and disability discrimination. See id at 2.

A claim for damages against the United States, including its agencies, is properly pursued
under the Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 1346(b), 2671-2680, and such claims
may be prosecuted "only in the judicial district where the plaintiff resides or wherein the act or
omission complained of occurred." 28 U.S.C. § 1402(b). In addition, claims of disability
discrimination are properly brought, infer alia, in the judicial district in the state where the
alleged wrongdoing was committed. See 42 U.S.C. § 12117(a) (incorporating Title VII's
enforcement procedures set forth at 42 U.S.C. § 2000e- 5(f)(3)); see also 28 U.S.C. § 1391(b)
(generally designating the proper venue under the circumstances presented as the Jocation where
a substantial part of the events occurred). The complaint reveals no connection to the District of
Columbia. Hence, this judicial district is not the proper venue for litigating plaintiffs claims. In
the interests of justice and judicial economy, the Court will transfer the case. Accordingly, it is

TL
this f day of August 2011,

ORDERED that pursuant to 28 U.S.C. § 1406(a), this action is hereby TRANSFERRED
to the United States District Court for the Central District of California. The Clerk of this Court
shal] file and docket the complaint. Whether plaintiff should be permitted to proceed further

without prepayment of fees is a determination to be made by the transferee court.

fA) ACE

United States District J udge

